     Case 1:17-cr-00198-LJO-SKO Document 150 Filed 10/05/17 Page 1 of 2


 1   CAROL ANN MOSES #164193
     Attorney at Law
 2   7636 N. Ingram Ave., #104
 3   Fresno, California 93711
     Telephone: (559) 449-9069
 4   Facsimile: (559) 513-8530

 5   Attorney for Defendant, Jeni Fries

 6

 7

 8                                     UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:17-cr-00198-LJO-SKO

12                        Plaintiff,                   WAIVER OF DEFENDANT’S PERSONAL
                                                       APPEARANCE PURSUANT TO FEDERAL
13           v.                                        RULE 43; ORDER THEREON

14   JENI FRIES,

15           Defendant.

16

17           TO THE ABOVE ENTITLED COURT:

18           Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, JENI FRIES, having been advised of

19   her right to be present at all stages of proceedings, hereby requests that this Court proceed in her

20   absence on every occasion that the Court may permit, pursuant to this waiver. Defendant agrees

21   that her interests shall be represented at all times by the presence of her attorney, CAROL ANN

22   MOSES, the same as if Defendant were personally present, and requests that this Court allow her

23   Attorney-in-fact to represent her interests at all times. Defendant further agrees that notice to

24   Defendant’s attorney requiring Defendant’s presence will be deemed notice to the Defendant of

25   the requirement of her appearance at that time and place.

26   ///

27   ///

28   ///

     WAIVER OF DEFENDANT’S
     PERSONAL APPEARANCE
                                                                                                            1
     Case 1:17-cr-00198-LJO-SKO Document 150 Filed 10/05/17 Page 2 of 2


 1           Ms. FRIES will be beginning a new job and taking time off for a court appearance will
 2   jeopardize her continued work.
 3           Assistant United States Attorney KIMBERLEY A. SANCHEZ does not object to the
 4   proposed Rule 43 waiver.
 5   Dated: October 05, 2017                             /s/ Jeni Fries
 6                                                       JENI FRIES

 7

 8   Dated: October 05, 2017                             /s/ Carol Ann Moses
                                                         CAROL ANN MOSES
 9
                                                         Attorney for Defendant,
10                                                       JENI FRIES

11

12                                               ORDER
13
             GOOD CAUSE APPEARING, Defendant’s appearance in Case NO: 1:17-cr-00198-
14   LJO-SKO may be waived at any and all non-substantive pretrial proceedings in accordance with
15   Rule 43 of the Federal Rules of Criminal Procedure until further order of the Court.
16

17
     IT IS SO ORDERED.
18

19       Dated:     October 5, 2017                              /s/ Sheila K. Oberto
                                                      UNITED STATES MAGISTRATE JUDGE
20

21

22

23

24

25

26

27

28
     WAIVER OF DEFENDANT’S
     PERSONAL APPEARANCE
                                                                                                     2
